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 7
 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
     TIM EDWARDS,                 )
11                                )
12        Plaintiff,              )
                                  )
13   vs.                          ) Case No. 2:17-cv-02328-FMO-SS
14                                )
     DELTA DENTAL INSURANCE ) CONSENT MOTION TO STAY
15
     COMPANY, WAL-MART            )
16   STORES, INC.,                )
17                                )
          Defendants.             )
18   ____________________________ )
19
           Defendant Wal-Mart Stores, Inc. Associates’ Health and Welfare Plan
20
21   (“Plan”), improperly sued as Wal-Mart Stores, Inc., requests that the Court stay
22
     this matter. In support of this Motion, the Plan states as follows:
23
24         1.     On February 21, 2017, Plaintiff Tim Edwards (“Edwards”) filed a
25   Complaint in this civil action in the Small Claims Division of the Ventura County,
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     California Superior Court (“State Action”).
27
28

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 1          2.     Edwards’ claims arise out of his participation in the Plan, which is an
 2
     employee welfare benefit plan governed by the Employee Retirement Income
 3
 4   Security Act of 1974, 29 U.S.C. § 1001, et seq. (“ERISA”).
 5
            3.     Dental benefits provided under the Plan are self-funded.
 6
 7          4.     On November 9, 2016, the Plan’s third-party administrator for dental
 8   benefits, Delta Dental Plan of Arkansas, Inc. (“Delta”), issued its initial benefits
 9
     determination.
10
11          5.     On or about January 30, 2017, Edwards initiated an administrative
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     appeal of Delta’s initial benefits determination.
13
14          6.     Delta sent a records request to Edwards’ treating provider, but has yet
15
     to receive a response.
16
17
            7.     Because the requested records have not been received, a final

18   determination has not been issued and the administrative review remains pending.
19
            8.     The Ninth Circuit has “consistently held that before bringing suit
20
21   under Section 502, an ERISA plaintiff claiming a denial of benefits ‘must avail
22
     himself or herself of a plan’s own internal review procedures before bringing suit
23
24   in federal court.’” 1
25
26
     1
27    Vaught v. Scottsdale Healthcare Corp. Health Plan, 546 F.3d 620, 626 (9th Cir.
     2008) (quoting Diaz v. United Agric. Employee Welfare Benefit Plan and Trust, 50
28   F.3d 1478, 1483 (9th Cir. 1995)).
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 1           9.       Edwards’ claim for benefits is not yet ripe for judicial determination.
 2
     The Plan, therefore, requests that the Court stay this matter pending a final
 3
 4   determination by Delta.
 5
             10.      Counsel for the Plan contacted the other parties to this action prior to
 6
 7   filing this Motion. The remaining parties consent to the stay of this matter until the
 8   Plan’s administrative review process is fully exhausted.
 9
             For the reasons stated herein, the Plan requests that the Court stay this matter
10
11   pending a final determination of Edwards’ claim for benefits under the Plan.
12
     DATED: March 29, 2017
13
14
                                                    MILLSTONE, PETERSON & WATTS, LLP
15
                                                    BY:           /s/Glenn W. Peterson
16
17                                                  Attorneys for Defendant Wal-Mart Stores, Inc.
18
              I hereby attest that I have on file all holograph signatures for any signatures indicated by a "conformed"
19
     signature (/s/) within this e-filed document.
20
     MILLSTONE PETERSON & WATTS, LLP
21   Attorneys at Law
     /s/ Glenn W. Peterson
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